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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DAVID A. STEBBINS,                                    Case No. 21-cv-04184-JSW
                                                         Plaintiff,
                                   8
                                                                                               ORDER DENYING MOTION TO FILE
                                                  v.                                           REVISED OR SUPPLEMENTAL
                                   9
                                                                                               OPPOSITION
                                  10     KARL POLANO, et al.,
                                                                                               Re: Dkt. No. 148
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Plaintiff has filed a motion requesting leave to file a revised or supplemental opposition to

                                  14   the motion to intervene. The Court DENIES Plaintiff’s request. If, after the motion is fully

                                  15   briefed, the Court determines it requires supplemental briefing or a link to Plaintiff’s Accidental

                                  16   Livestream, it will issue an order to that effect.

                                  17           IT IS SO ORDERED.

                                  18   Dated: May 25, 2022

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                                                                                            JEFFREY S. WHITE
                                  20                                                        United States District Judge
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